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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
                                                          :
JOSHUE DAVID MARDICE, JASMINE                             :
WASHINGTON, JUAN MIRANDA,                                 :
PRESTON NORMAN, CHRISTINA SANTI, :
SANDEEP SINGH and RICKEY TURNER, :
on behalf of themselves and others similarly :
situated,                                                 :
                                                          :         19-CV-8910 (VSB)
                                    Plaintiffs,           :
                                                          :              ORDER
                      - against -                         :
                                                          :
                                                          :
EBONY MEDIA OPERATIONS, LLC, CVG :
GROUP, LLC, MICHAEL GIBSON, in his                        :
individual and professional capacities, and               :
ELIZABETH BURNETT, in her individual                      :
and professional capacities,                              :
                                                          :                             10/20/2020
                                    Defendants.           :
----------------------------------------------------------X


VERNON S. BRODERICK, United States District Judge:

        On August 31, 2020, this court granted a stay of the proceedings in this case for the

shorter of 45 days, or until a decision was made on the motion to dismiss the Chapter 7

Bankruptcy in the Southern District of Texas. I am in receipt of the parties’ October 16, 2020

joint letter. In light of the updates provided in joint letter and in the interest of judicial economy,

the case is stayed until the Southern District of Texas Bankruptcy Court has had opportunity to

render a decision on the extent of the stay imposed under 11 U.S.C. § 362(a). It is hereby:

        ORDERED that the parties are directed to file a joint letter update in 56 days, or as soon

as a decision is made by the Southern District of Texas Bankruptcy Court on a motion for relief

from the stay imposed under 11 U.S.C. § 362(a), whichever time period is shorter.
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SO ORDERED.

Dated: October 20, 2020
       New York, New York

                                         ______________________
                                         Vernon S. Broderick
                                         United States District Judge
